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Telephone



                                IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ALASKA


A&Jvfltt.O           a        &;wsoAJ s. J.A.
          (Full name of plaintiff in this action)
                                                                      Case No.    3 : //-ev- OO/Q/-,)L ~
                                         Plaintiff,                                   (To be supplied by Court)
vs.

                                                                              COMPLAINT UNDER
                                                                             THE CIVIL RIGHTS ACT
                                                                                 42 u.s.c. § 1983

                                                                                  (NON-PRISONERS)

                                                                    5€CLJ"1LJ 4n€AJtJ€LJ CoKJl//11~'/"
      (Full names of ALL defendant(s) in this action.
                    Do NOT use et al.)

                                         Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you assert jurisdiction
under any different or additional authorities, list them below:



B. Parties

1. Plaintiff: This complaint alleges that the civil rights of L c O.Nf/llO              £}. bN.JsoJJ Jr. ,
                                                         •                           (print your name)
who presently resides at           /<(31 €Att/Vl4=w ,/},(. , !9~11L/r!(tlq~ Ai:                     f9j7)C/ , were
                                                             (mailing lcidress)
violated by the actions of the below named individual(s).
PS 02 (4/06)                             Page 1 of 8



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 2.    Defendants (Make a copy of this page and provide same information if you are naming more than 3 defendants):

 Defendant No. 1,             c.,/e/"FM)'"                  ~E((/                                                             , is a citizen of_
                                                                      (name)
         ~sir&                             , and is employed as a . /l.AK:tlOM~ f?YtiE 0$iE/e .
                 (state)                                                                 (defendant's government positiofi/title)


 AThis defendant personally participated in causing my injury, and I want money damages.

 OR
 _ _The policy or custom of this official's government agency violates my rights, and I seek
 injunctive relief (to stop or require someone do something).

 Defendant No. 2,               AJ/\11 GUE                     .tJo)/                                                         , is a citizen of_
         /}/                                                         (name)
 _ .m
    . . . .7'. 11'
               ___...
                 trA:   ......_ _ _, and is employed as a AM!.1./tJ~ Mee 0/7/d& .
                      _ t;
                {state)                                                                  (defendant's government position/title)


      JCThis defendant personally participated in causing my injury, and I want money damages.
OR
_ _The policy or custom of this official's government agency violates my rights, and I seek
injunctive relief (to stop or require someone do something).

Defendant   3,,_No~                  ___.~;..<..
                                          · -"--'-A='el;...,.0"""We;.__,./'--_IJA-.....
                                                                                ..........·~      ~"""-'-7)..._7Z'""4.'Q#1~~-----'' is a: citizen of_
                                                                                           ............
   /}/    L                                                           ·
                                                                     (name)     /}~
_____./-/).--'-"'-~           ....4_ _ _'--', and is employed as a mu( CN~O/UEd?ENr l!l/eAJ T
               .....J"""/.....,L'
                (state)                                                                 (defendant's government position/title)


_ _This defendant personally participated in causing my injury, and I want money damages.

OR
_ _The policy or custom of this official's government agency violates my rights, and I seek
injunctive relief (to stop or require someone do something). .

C. Causes of Action (You niay attach additional pages alleging other causes of action and facts supporting them
if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename the claims," Claim 4," "Claim 5,
etc.").

Claim 1: The following civil right has been violated:                              SI~ ,,f/;,GV4#EA L .A?~117'                               Z()
                                                                               (e.g., due process, freedom of religion, free speech, freedom
&or '6f cSulJJecr& ro                                      U,ll)JlE#SotJ/M/e &:19/QI/ /J,111~ S&Zd1tlf:
of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)




                                                                Page 2 of 8




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'/ X, Defendants (Make a copy of this page and provide same information if you are naming more than 3 defendants):

                                                                                                                , is a citizen of_
        Ll/....                                              (name)
        Ltf  /ff.tfA                  ,and is employed as a . {ka; 6vRJ/t{!EA4f-Wt'                             A{€NL
               (state)                                                         (defendant's government positiofi/title)


 _K'This defendant personally participated in causing my injury, and I want money damages.

 OR
 _ _The policy or custom of this official's government agency violates my rights, and I seek
 injunctive relief (to stop or require someone do something).

 Defendant No.     If £,ill/?-~ L YouAlt{/6/o~                 , is a citizen o(
        / _                             (name)
 -~~
   . .1w
       ._....zsA; _ ___,,and is employed as a/At.q 6-B;~~,fWT /!i/16Vr
               _..;4
               (state)                        -                               (defendant's government position/title)


 _ _This defendant personally participated in causing my injury, and I want money damages.

 OR
 _ _The policy or custom of this official's government agency violates my rights, and I seek
 injunctive relief (to stop or require someone do something).

 Defendant No; 3,_________________________, is a: citizen of_
                                                             (name)
 _ _ _ _ _ _ _ _ _ _,andisemployedasa.~----------------
              (state)                                                         (defendant's government position/title)


 _ _This defendant personally participated in causing my injury, and lwant money damages.

 OR
_ _The policy or custom.of this official's government agency violates my rights, and I seek
injunctive relief (to stop or require someone do something). .

C. Causes of Action (You niay attach additional page8 alleging other causes of action and facts supporting them
ifnecessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename the claims," Claim 4," "Claim 5,
etc.").

Claim 1: The following civil right has been violated:._ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                      (e.g., due process, freedom of religion, free speech, freedom

of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)




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Supporting Facts: (Briefly describe facts you consider important to Claim 1. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certa_in to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 1.)

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                                         Page 3 of 8



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Claim 2: The following civil right has been violated: /               ,/9ta&~ ~/Ir
                                                                             7/t,,,{
         ~.::-       /J_                            (e.g., due process, freedom ofreligion, free speech, freedom
              ~c_           '/"'~d(!l:>f.S       oE       "'-.&W.
of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)


Supporting Facts: (Briefly describe facts you consider important to Claim 2. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certain to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 2. Include dates.)
  ,_5.EE /9:r719e/1#'16J 7 di-3




                                                       Page 4 of 8



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Claim 3: The following civil right has been violated: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                      (e.g., due process, freedom of religion, free speech, freedom

of association and/or assembly, freedom from cruel and unusual punishment, etc. List only one civil right violation.)


Supporting Facts: (Briefly describe facts you consider important to Claim 3. State what happened
clearly, in your own words. DO NOT cite legal authority or argument. Be certain to describe
exactly what each defendant, by name, did to violate the right alleged in Claim 3. Include dates.)




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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts involved

in this action? _ _ Yes    X      No

2. If your answer is "Yes," describe each lawsuit. (If there is more than one lawsuit, describe the

additional lawsuits by copying this blank page and labeling it page "6A. ")

a. Parties to previous lawsuit:

Plaintiff(s):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ __



Defendant(s):_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




b. Name and location of court:
                                  -----------------------~




c. Docket number:
                    ---------------------------~


d. Name of judge to whom case was assigned: _ _ __ _ _ _ _ _ _ __ _ _ _ __ _

e. Disposition:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                          (For example, was the case dismissed, appealed or still pending?)

f. Issues Raised:
                -----------------------------




g. Approximate date case was filed: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

h. Approximate date of final decision: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ _ _ _ _ __

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F. Request for Relief

Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of$ __.A_;;i::Ji""""l(J"'"'l'""'.....
                                                          OQ_,O..__
                                                                 .sL_tL_ _ _ _ _ _ _ _ _ _ _ _ _ __

                                              tJo
2. Punitive damages in the amount of$__,_/J,,_............,O~
                                                      .,
                                                          . {')~C)""''().___
                                                                          .o.s_ei_    _ _ _ _ _ _ _ _ _ __


3. An order requiring defendant(s) to                 &ses-s             A      ~ W~A-#7 7b
  0.-.      . i_/                                          /)        .,/,,..                                   t/ /j? ...~
~/l..<.t!rL         /J.At?        Oil.    Se/Ze' ,,,Je!Jp~ OK-                        L?AOUJt7l/                a~~
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                                                                                                        /

4. A declaration that           Ii            &.Jo,,)r       ti~                /lq/!t;.; .I




5. Other: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Plaintiff demands a trial by _ _ _ Jury                   --K            Court. (Choose one.)


                    DECLARATION UNDER PENALTY OF PERJURY

      The undersigned declares under penalty of perjury that s/he is the plaintiff in
the above action, that s/he has read the above civil rights complaint and that the
information contained in the complaint is true and correct.


~~vh
Plaintiff's Full Name                                                J


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                                  (Location)                                           /      /       (Date)

                                                          Page 7 of 8



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                                                        ~!(Date)



 .fh!L~JEJ A/gf:& imJY
(Joj ~ ?O -1/fJO
Attorney's Address and Telephone Number




                                          Page 8 of 8



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              DECLARATION UNDER PENALTY OF PERJURY



    The undersigned declares under penalty of perjury that he is the plaintiff in the above
action, that he has read the above civil rights complaint and that the information contained in
the complaint is true and correct.




L&?rv$?.1:?
Plaintiff's Full Name
                      Aw;Jr<~ -~SoAI ~,



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                                                                                                                     =. _ _
                            (Location)                                        ~ (Date)



   SUBSCRIBED AND SWORN to before me on~                                                    3 , 2013, at Anchorage, Alaska.




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                                   '''''""'''''

 Second Amended Complaint
 Case 3:11-cv-00151-SLG


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                            CERTIFICATE OF SERVICE


I HEREBY certify that a true and accurate copy of this complaint was sent on September 3,
2013, by hand delivery to:


THE DISTRICT COURT FOR THE DISTRICT OF ALASKA.




                                                       Leonard A. L son Jr.
                                                       1831 Early View Dr.
                                                       Anchorage, Alaska
                                                       99504




  Second Amended Complaint
  Case 3: 11-cv-OO 151-SLG
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